      Case 3:19-mc-00089-N Document 4 Filed 11/25/19   Page 1 of 2 PageID 29



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

CHRISTUS TRINITY CLINIC,                 §
                                         §
                          APPLICANT,     §
                                         §
VS.                                      §        MISC. NO. 3:19-MC-89-N
                                         §
JOEL RALEY UNDERWOOD, M.D.,              §
                                         §
                          RESPONDENT.    §

                               FINAL JUDGMENT
      Consistent with the Court’s Order Confirming Arbitration Award signed this

date, IT IS ORDERED, ADJUDGED AND DECREED that Joel Raley Underwood

MD take nothing by the arbitration and his claims be, in all things,

DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Protective Order entered in the arbitration proceeding is incorporated herein.

Accordingly, within thirty (30) days from the date of this Final Judgment all

Confidential Material (as defined in the Protective Order) and all copies thereof

in the possession, custody, or control of any party or the party’s attorney or

any Authorized Persons (as defined in the Protective Order) to whom

Confidential Material has been disclosed in accordance with the Protective

Order shall be returned to the party producing the same; and all notes,

memoranda, summaries, or other documents in the possession, custody, or

control of any party referring to or describing the Confidential Material shall be

destroyed, and counsel for the respective parties shall provide written

confirmation to opposing counsel that the requirements of this paragraph may

have been met.



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   Case 3:19-mc-00089-N Document 4 Filed 11/25/19        Page 2 of 2 PageID 30



   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that each party

bear its own attorney’s fees and costs.

   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that CHRISTUS

Trinity Clinic is responsible for all arbitration fees and expenses.

   IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all other

relief not expressly granted herein is DENIED.

   This is a final judgment.

   SIGNED this 25th day of November, 2019.



                                      __________________________________________
                                      DAVID C. GODBEY
                                      UNITED STATES DISTRICT JUDGE




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